Case 3:20-cv-02231-WQH-KSC Document 1-2 Filed 11/16/20 PageID.29 Page 1 of 42




                          Exhibit            A



Exhibit A       Exhibit A        Exhibit A        Exhibit A        Exhibit A
       Case 3:20-cv-02231-WQH-KSC Document 1-2 Filed 11/16/20 PageID.30 Page 2 of 42




C/J.
csc                                                                                                                  J9M / LABOR
                                                                                                     Transmittal Number: 22170983
Notice of Service of Process                                                                            Date Processed: 10/19/2020

Primary Contact:

                           -
                           Hyatt Hotels Corporation
                           150 N Riverside Plz
                           Fl 14
                           Chicago, IL 60606-1598

Entity:                                       Hyatt Corporation
                                              Entity ID Number 0007499
Entity Served:                                Hyatt Corporation d/b/a "Manchester Grand Hyatt San Diego"
Title of Action:                              Michael D. Brumbach vs. Hyatt Corporation d/b/a "Manchester Grand Hyatt San
                                              Diego"
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Class Action
Court/Agency:                                 San Diego County Superior Court, CA
Case/Reference No:                            37-2020-00036271-CU-OE-CTL
Jurisdiction Served:                          Illinois
Date Served on CSC:                           10/16/2020
Answer or Appearance Due:                     30 Days
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           Kevin T. Barnes
                                              323-549-9100

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
     Case 3:20-cv-02231-WQH-KSC Document 1-2 Filed 11/16/20 PageID.31 Page 3 of 42
                                                                                                                                                                   CM-010
 ATTORNEY OR PARTY WITHOUT ATTORNEY 1Name, State Bar number, and address):
r-Kevin T. Barnes, Esq. (SBN#U8477)
  Law Offices of Kevin T. Barnes                                                                                    To keep other people from
  1635 Pontius Avenue, Second Floor                                                                                seeing what you entered on
  Los Angeles, California 90025-3361.                                                                               your form, please press the
                   (323) 549-9100·
          TELEPHONE NO.:                      FAXNO.: (323) 549-0101
                                                                                                                   Clear This Form button at the
                   Michael D. Bruinbach
 ATTORNEY FOR (Name):
                                                                                                                  end of the form when finished.
SUPERIOR COURT OF CALIFORNIA, COUNTY OF San Diego
    sTREETADDREss: 330 West Broadway
                                                                                                                 - : ELECTROIUCALLVFILE07.
                                                                                                                          Superior Court of California,
      MAILING ADDRESS:
                                                                                                                             County of San Diego
     cITYANDzIPcoDE:        San Diego, CA 92101
           BRANCH NAME:     Hall of Justice Courthouse                                                                     10/09/2020 at 08: 13 :58 .t-M
  CASE NAME:                                                                                                             Cieri< of the Superior Court
                                                                                                                       By Keira 11/b Cray, Deputy Cieri<
  Michael D. Brumbach v. Hyatt Corporation
                                                                                                                CASE NUMBER:
      CIVIL CASE COVER SHEET                                      Complex Case Designation
 0        Unlimited        Limited D                         D
                                                       Counter              Joinder  D
                                                                                                                                  37-2020-00036271-CU-OE-CTL
          (Amount          (Amount                                                       JUDGE:                          Judge Joel R. Wohlfeil
          demanded         demanded is          Filed with first appearance by defendant
          exceeds $25,000) $25,000 or less)          (Cal. Rules of Court, rule 3.402)     DEPT:

                               Items 1-6 below must be completed (see instructions on page 2).
1. Check one box below for the case type that best describes this case:
     Auto Tort                                            Contract                                       Provisionally Complex Civil Litigation
     D       Auto (22)                                    D       Breach of contract/warranty (06)       (Cal. Rules of Court, rules 3.400-3.403)
     D       Uninsured motorist (46)                      D       Rule 3.740 collections (09)            D     Antitrust/Trade regulation (03)
     Other PI/PD/WD (Personal Injury/Property             D       Other collections (09)                 D     Construction defect (10)
     Damage/Wrongful Death) Tort                          D       Insurance coverage (18)                D     Mass tort (40)
     D       Asbestos (04)                                D       Other contract (37)                    D     Securities litigation (28)
     D       Product liability (24)                       Real Property                                  D      Environmental/Toxic tort (30)
     D        Medical malpractice (45)                    D     Eminent domain/Inverse                   D     Insurance coverage claims arising from the
     D        Other PI/PD/WD (23)                               condemnation (14)                              above listed provisionally complex case
     Non-PI/PD/WD (Other) Tort                            D       Wrongful eviction (33)                       types (41)

     D Business tort/unfair business practice (07)        D       Other real property (26)               Enforcement of Judgment
     D Civil rights (08)                                  Unlawful Detainer                              D     Enforcement of judgment (20)
     D Defamation (13)                                    D    Commercial (31)                           Miscellaneous Civil Complaint
     D Fraud (16)                                         D       Residential (32)                       0     RICO(27)
     D Intellectual property (19)                         D       Drugs(38)                              D     Other complaint (not specified above) (42)
     D Professional negligence (25)                       Judicial Review                                Miscellaneous Civil Petition
     D Other non-Pl/PD/WO tort (35)                       D       Asset forfeiture (05)
                                                                                                         D     Partnership and corporate governance (21)
     Employment                                           D       Petition re: arbitration award (11)
                                                                                                         D     Other petition (not specified above) (43)
     D Wrongful termination (36)                          D       Writ of mandate (02)
     IZ]      Other employment (15)                       D       Other judicial review (39)
2. This case W is          LJ is not complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
   factors requiring exceptional judicial management:
     a.   D      Large number of separately represented parties               d.   D      Large number of witnesses
     b.   D      Extensive motion practice raising difficult or novel         e.   D      Coordination with related actions pending in one or more courts
                 issues that will be time-consuming to resolve                            in other counties, states, or countries, or in a federal court
     c.   D      Substantial amount of documentary evidence                   f. D        Substantial postjudgmentjudicial supervision

3. Remedies sought (check all that apply): a.@ monetary                      b. D nonmonetary; declaratory or injunctive relief                        c.   D     punitive
4. Number of causes of action (specify): Seven (7)
5. This case          0
                     is                D
                                is not a class action suit.
6. If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)

Date-     October 9 20~0
!Kevin T. Barnes, Es .
                                   (TYPE OR PRINT NAME)
                                                                                          • '7<----
                                                                                            ,       f.
                                                                                                     '                     ff,.
                                                                                                                                ~
                                                                                                        (SIGNATURE OF PARTY OR ATTORNEY FOR PARTY)
                                                                             NOTICE
  • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
    under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
    in sanctions.
  • File this cover sheet in addition to any cover sheet required by local court rule.
  • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
    other parties to the action or proceeding.
  • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes onlv.
                                                                                                                                                                     15aae 1 of 2
Form Adopted for Mandatory Use                                                                                      Cal. Rules of Court, rules 2.30, 3.220, 3.400-3.403, 3.740;
  Judicial Council of California
                                                           CIVIL CASE COVER SHEET                                           Cal. Standards of Judicial Administration, std. 3.1 O
   CM-010 [Rev. July 1, 2007]                                                                                                                               www.courtinfo.ca.gov
    Case 3:20-cv-02231-WQH-KSC Document 1-2 Filed 11/16/20 PageID.32 Page 4 of 42
                                                                                                                                             CM-010
                                      INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper {for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiff's designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                      CASE TYPES AND EXAMPLES
Auto Tort                                              Contract                                           Provisionally Complex Civil Litigation (Cal.
     Auto (22)-Personal Injury/Property                    Breach of Contract/Warranty (06)               Rules of Court Rules 3.400-3.403)
          Damage/Wrongful Death                                 Breach of Rental/Lease                         AntitrusUTrade Regulation (03)
     Uninsured Motorist (46) (if the                                Contract (not unlawful detainer            Construction Defect (10)
          case involves an uninsured                                    or wrongful eviction)                  Claims Involving Mass Tort (40)
          motorist claim subject to                             Contract/Warranty Breach-Seller                Securities Litigation (28)
          arbitration, check this item                              Plaintiff (not fraud or negligence)        Environmental/Toxic Tort (30)
          instead of Auto)                                      Negligent Breach of ContracU                   Insurance Coverage Claims
Other PI/PD/WD (Personal Injury/                                    Warranty                                        (arising from provisionally complex
Property Damage/Wrongful Death)                                 Other Breach of Contract/Warranty                   case type listed above) (41)
Tort                                                       Collections (e.g., money owed, open             Enforcement of Judgment
     Asbestos (04)                                              book accounts) (09)                            Enforcement of Judgment (20)
          Asbestos Property Damage                              Collection Case-Seller Plaintiff                    Abstract of Judgment (Out of
                                                                Other Promissory Note/Collections                         County)
          Asbestos Personal Injury/
                Wrongful Death                                      Case                                            Confession of Judgment (non-
                                                           Insurance Coverage (not provisionally                          domestic relations)
     Product Liability (not asbestos or
          toxic/environmental) (24)                             complex) (18)                                       Sister State Judgment
     Medical Malpractice (45)                                  Auto Subrogation                                     Administrative Agency Award
          Medical Malpractice-                                  Other Coverage                                          (not unpaid taxes)
                Physicians & Surgeons                      Other Contract (37)                                      Petition/Certification of Entry of
          Other Professional Health Care                        Contractual Fraud                                       Judgment on Unpaid Taxes
                Malpractice                                     Other Contract Dispute                              Other Enforcement of Judgment
                                                       Real Property                                                      Case
     Other Pl/PD/WO (23)
          Premises Liability (e.g., slip                   Eminent Domain/Inverse                          Miscellaneous Civil Complaint
                                                                Condemnation (14)                              RICO (27)
                and fall)
          Intentional Bodily Injury/PD/WO                  Wrongful Eviction (33)                              Other Complaint (not specified
                                                                                                                    above) (42)
                (e.g., assault, vandalism)                 Other Real Property (e.g., quiet title) (26)
          Intentional Infliction of                                                                                 Declaratory Relief Only
                                                                Writ of Possession of Real Property
                                                                                                                    Injunctive Relief Only (non-
                Emotional Distress                              Mortgage Foreclosure
                                                                                                                          harassment)
          Negligent Infliction of                               Quiet Title
                Emotional Distress                                                                                  Mechanics Lien
                                                                Other Real Property (not eminent
          Other Pl/PD/WO                                                                                            Other Commercial Complaint
                                                                domain, landlord/tenant, or
                                                                                                                          Case (non-tort/non-complex)
Non-Pl/PD/WO (Other) Tort                                       foreclosure)
                                                                                                                    Other Civil Complaint
     Business Tort/Unfair Business                     Unlawful Detainer
                                                                                                                         (non-tort/non-complex)
         Practice (07)                                     Commercial (31)
                                                                                                           Miscellaneous Civil Petition
     Civil Rights (e.g., discrimination,                   Residential (32)                                    Partnership and Corporate
         false arrest) (not civil                          Drugs (38) (if the case involves illegal                 Governance (21)
          harassment) (08)                                      drugs, check this item; otherwise,             Other Petition (not specified
     Defamation (e.g., slander, libel)                          report as Commercial or Residentialj                above) (43)
           (13)                                        Judicial Review                                              Civil Harassment
     Fraud (16)                                           Asset Forfeiture (05)                                     Workplace Violence
     Intellectual Property (19)                            Petition Re: Arbitration Award (11)                      Elder/Dependent Adult
     Professional Negligence (25)                          Writ of Mandate (02)                                           Abuse
         Legal Malpractice                                      Writ-Administrative Mandamus                        Election Contest
         Other Professional Malpractice                         Writ-Mandamus on Limited Court                      Petition for Name Change
              (not medical or legal)                                Case Matter                                     Petition for Relief From Late
      Other Non-Pl/PD/WO Tort (35)                              Writ-Other Limited Court Case                             Claim
Employment                                                          Review                                          Other Civil Petition
     Wrongful Termination (36)                             Other Judicial Review (39)
     Other Employment (15)                                      Review of Health Officer Order
                                                                Notice of Appeal-Labor
                                                                   Commissioner Appeals
CM-010 [Rev. July 1, 2007]                                                                                                                     Page 2 of2
                                                            CIVIL CASE COVER SHEET
    For your protection and privacy, please press the Clear This Form
                 button after you have printed the form.                        i ~~~~ This Form I: Print This Form 11: Clear This Form I
   Case 3:20-cv-02231-WQH-KSC Document 1-2 Filed 11/16/20 PageID.33 Page 5 of 42
                                                                                                                                                                  SUM-100
                                                    SUMMONS
                                                                                                                           To keep other people from
                                         (CITACION JUDICIAL)
                                                                                                                          seeing what you entered on
NOTICE TO DEFENDANT:                                                                                                      your form, please press the
(A VJSO AL DEMANDADO):                                                                                                   Clear This Form button at the
HYATT CORPORATION d/b/a "Manchester Grand Hyatt San Diego,"                                                             end of the form when finished.
                                                                                                                        ,---                     --,
a Delaware corporation; and DOES 1 to 100, inclusive                                                                   • ELECTROtHCALL V FILED •
                                                                                                                            Superior Court of California,
YOU ARE BEING SUED BY PLAINTIFF:                                                                                               County of San Diego
(LO ESTA DEMANDANDO EL DEMANDANTE):
                                                                                                                            10/09/2020 at 08: 13 :58 J!M
MICHAEL D. BRUMBACH, on behalf of himself and all others                                                                   Clerk of the Superior Court
similarly situated,                                                                                                      By Keira lvb Cray, Deputy GI erk

 NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
 below.
    You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
 served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
 case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
 Online Self-Help Center (www.courtinfo.ca.gov/se/fhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
 the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
 may be taken without further warning from the court.
     There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
 referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
 these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org}, the California Courts Online Self-Help Center
 (www.courtinfo.ca.gov/selfhe/p), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
 costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
 iA V/SO/ Lo han demandado. Si no responde dentro de 30 dias, la carte puede decidir en su contra sin escuchar su version. Lea la informaci6n a
 continuaci6n.
    Tiene 30 DIAS DE CALENDAR/O despues de que le entreguen esta citaci6n y papeles legales para presentar una respuesta por escrito en esta
 carte y hacer que se entregue una copia al demandante. Una carta o una 1/amada telef6nica no lo protegen. Su respuesta par escrito tiene que estar
 en formato legal correcto si desea que procesen su caso en la carte. Es posible que haya un formulario que usted pueda usar para su respuesta.
 Puede encontrar estos formularios de la corte y mas informaci6n en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
 biblioteca de /eyes de su condado o en la corte que le quede mas cerca. Si no puede pagar la cuota de presentaci6n, pida al secretario de la carte
 que le de un formulario de exenci6n de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso par incump/imiento y la carte le
 podra quitar su sue/do, dinero y bienes sin mas advertencia.
   Hay otros requisitos legales. Es recomendable que /lame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
 remisi6n a abogados. Si no puede pagar a un abogado, es posible que cumpla con las requisitos para obtener servicios /ega/es gratuitos de un
 programa de servicios /ega/es sin fines de /ucro. Puede encontrar estos grupos sin fines de /ucro en el sitio web de California Legal Services,
 (www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poniendose en contacto con la corte o el
 colegio de abogados locales. AV/SO: Par fey, la carte tiene derecho a reclamar las cuotas y las costos exentos por imponer un gravamen sabre
 cualquier recuperaci6n de $10,000 6 mas de valor recibida mediante un acuerdo o una concesi6n de arbitraje en un caso de derecho civil. Tiene que
 pagar el gravamen de la carte antes de que la carte pueda desechar el caso.

The name and address of the court is:                                                                               CASE NUMBER:
                                                                                                                    (Numero def Caso):
(El nombre y direcci6n de la corte es):                 Hall of Justice Courthouse                                                       37-2020-00036271-CU-OE-CTL
330 West Broadway
San Diego, CA 92101
The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is:
(El nombre, la direcci6n y el numero de te/efono def abogado def demandante, o def demandante que no tiene abogado, es):
Law Offices of Kevin T. Barnes, 1635 Pontius Ave., Second Floor, Los Angeles, CA 90025 - (323) 549-9100

 DATE: 10/1312020                                                    Clerk, by                                                                                     , Deputy
 (Fecha)                                                             (Secretario)                                                                                   (Adj unto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citation use el formulario Proof of Service of Summons, (POS-010)).
                                  NOTICE TO THE PERSON SERVED: You are served
  JSEAL]
                                  1.                D
                                          as an individual defendant.
                                  2.                CJ
                                          as the person sued under the fictitious name of (specify):


                                               3.   D    on behalf of (specify):

                                                    under:   D    CCP 416.10 (corporation)                           D        CCP 416.60 (minor)
                                                             D    CCP 416.20 (defunct corporation)                   D        CCP 416.70 (conservatee)
                                                             CJ   CCP 416.40 (association or partnership)            D        CCP 416.90 (authorized person)
                                                             D   other (specify):
                                               4.   D    by personal delivery on (date):
                                                                                                                                                                      Pa e1 of1
Form Adopted for Mandatory Use
  Judicial Council of California
                                                                             SUMMONS                                                        Code ofClvil Procedure§§ 412.20, 465
                                                                                                                                                                             .ca.gov
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            [Rev. July 1, 2 oo 91
  SUM-
: Save ~~-is _F~~m _l               i-p-ifot   This   Form ·1 I, Clear This Fo-rm I..______
                                                                                           For your protection and privacy, please press the Clear This Form
                                                                                                        bu_1_1o_n_a_t1_er_y_o_u_h_av_e_p_r_in_1e_d_t_he_fo_rm_._ _ _ ____,
                Case 3:20-cv-02231-WQH-KSC Document 1-2 Filed 11/16/20 PageID.34 Page 6 of 42




                   1    Kevin T. Barnes, Esq. (#138477)                                        ELECTRotHCALLY FILED
                                                                                                Superior Court of California,
                        Gregg Lander, Esq. (#194018)                                               County of San Diego
                   2    LAW OFFICES OF KEVIN T. BARNES                                           1 0to9/2020 at 08: 13 :58 .A1v1
                        1635 Pontius A venue, Second Floor
                   3    Los Angeles, CA 90025-3361                                               Clerk of the Superior Court
                                                                                               By Keira 11.ib Cray, Deputy Clerk
                        Tel.: (323) 549-9100 I Fax: (323) 549-0101
                   4    Email: Barnes@kbarnes.com

                   5    Attorneys for Plaintiff MICHAEL D. BRUMBACH,
                        on behalf of himself and all others similarly situated
                   6

                   7

                   8                       SUPERIOR COURT OF THE STATE OF CALIFORNIA

                   9                                  FOR THE COUNTY OF SAN DIEGO

               10        MICHAEL D. BRUMBACH, on behalf                  )    CLASS ACTION
                         of himself and all others similarly situated,   )
               11                                                        )    Case No. 37-2020-00036271-CU-OE-CTL
                                 Plaintiffs,                             )
               12                                                        )    COMPLAINT FOR:
                                 V.                                      )
               13                                                        )    1.   FAILURE TO PAY ALL WAGES DUE
                         HYATT CORPORATION d/bla                         )         TO ILLEGAL ROUNDING;
               14        "Manchester Grand Hyatt San Diego," a           )    2.   FAILURE TO PROVIDE ALL MEAL
                         Delaware corporation; and DOES 1 to             )         PERIODS;
               15        100, inclusive,                                 )    3.   FAILURE TO AUTHORIZE AND
                                                                         )         PERMIT ALL PAID REST PERIODS;
               16                Defendants.                             )    4.   FAILURE TO TIMELY FURNISH
                                                                         )         ACCURATE ITEMIZED WAGE
               17                                                        )         STATEMENTS;
                                                                         )    5.   VIOLATIONS OF LABOR CODE §203;
               18                                                        )    6.   PENALTIES PURSUANT TO LABOR
                                                                         )         CODE §2699; AND
               19                                                        )    7.   UNFAIR BUSINESS PRACTICES
                                                                         )
               20                                                        )    DEMAND FOR JURY TRIAL

               21               Plaintiff MICHAEL D. BRUMBACH, an individual on behalf of himself and all others

               22       similarly situated (hereinafter collectively referred to as "Plaintiffs"), hereby files this Complaint

               23       against Defendant HYATT CORPORATION d/bla "Manchester Grand Hyatt San-Diego'-' and _

               24       DOES 1 to 100 (hereinafter collectively referred to as "Defendants"). Plaintiffs are informed and

               25       believe, and on the basis of that information and belief, allege as follows:

               26       Ill
               27       Ill
               28       Ill
   I.AWOFFi:ESOF
   KEv!NT.BARNES
1635PctmUSAVENUE,
   SECOND Fl.ooR                                                             -1-
  I.osANGEIJ;s,CA
      90025-3361
 Tfl.:(323)549-9100                       BRUMBACH V. HYATT CORPORATION - COMPLAINT
 FA:<:(323)549-0101
BARNES(@,K&\RNFS.cx:M
                 Case 3:20-cv-02231-WQH-KSC Document 1-2 Filed 11/16/20 PageID.35 Page 7 of 42




                  1                                                       I.
                  2                                              INTRODUCTION

                  3              1.     This is a civil action seeking recovery for Defendants' violations of the California

                  4      Labor Code ("Labor Code"), California Business and Professions Code ("B&PC"), the

                  5      applicable Wage Orders issued by the California Industrial Welfare Commission (hereinafter, the

                  6      "IWC Wage Orders") and related common law principles.

                  7              2.     Plaintiffs' action seeks monetary damages, including full restitution from

                   8     Defendants as a result of Defendants' unlawful, fraudulent and/or unfair business practices.

                   9             3.     The acts complained of herein occurred, occur and will occur, at least in part,

                10       within the time period from four (4) years preceding the filing of the original Complaint herein,

                11       up to and through the time of trial for this matter although this should not automatically be

                12       considered the statute of limitations for any cause of action herein.

                13       RELEVANT JOB TITLES

                14               4.     For introductory and general information only (and not to be considered a

                15       proposed class definition), the relevant individuals in this action are Defendants' hourly-paid,

                16       non-exempt employees who were subjected to Defendants' policies and practices at Defendants'

                17       Manchester Grand Hyatt San Diego only as described herein (hereinafter including but not

                18       limited to Defendants' bartenders, barbacks, waiters, cocktail servers, server assistants, food

                19       runners, bouncers, and any of Defendants' job positions with substantially similar titles and/or

               20        duties as these). Any differences in job activities between the different individuals in these

               21        positions were and are legally insignificant to the issues presented by this action.

               22        SUMMARY OF CLAIMS

               23                5.     With regard to Defendants' hourly-paid, non-exempt employees, Defendants

               24        have:

               25                       a. Failed to pay all wages due to illegal time rounding;

               26                       b. Failed to provide all legally-requisite meal periods;

               27                       c. Failed to authorize and permit all paid legally-requisite rest periods;

               28                       d. Failed to timely furnish accurate itemized wage statements;
   lAWOmc:ESOF
   KEV!NT.BARNEs
!635l'OmUSAVEM£.
    SECONDFlOOR
                                                             -2-
   LosANGEIJ;S,CA
      90025-3361
  TEL:(323)549-9100                       BRUMBACH V. HYATT CORPORATION - COMPLAINT
  FAX:(323)549-0101
BARNES(@,KJW\M'S.CX>.<
               Case 3:20-cv-02231-WQH-KSC Document 1-2 Filed 11/16/20 PageID.36 Page 8 of 42



                    1                  e. Violated Labor Code §203;

                    2                  f.    Incurred penalties pursuant to Labor Code §§2698, et seq.; and

                    3                  g. Conducted unfair business practices.

                    4                                                    n
                    5                                                PARTIES

                    6   PLAINTIFF MICHAEL D. BRUMBACH

                    7          6.      Plaintiff MICHAEL D. BRUMBACH is an individual over the age of eighteen (18)

                    8   and is now and/or at all times mentioned in this Complaint was a citizen of the State of California.

                    9          7.      Plaintiff MICHAEL D. BRUMBACH worked for Defendants as an hourly-paid,

               10       non-exempt employee from approximately December 17, 2012 to January 15, 2020 in San

               11       Diego, California, which is in San Diego County, California.

               12              8.      Plaintiff MICHAEL D. BRUMBACH seeks recovery herein from Defendants

               13       because with regard to Plaintiff MICHAEL D. BRUMBACH, while acting for Defendants in his

               14       capacity as an hourly-paid, non-exempt employee, Defendants have:

               15                      a. Failed to pay all wages due to illegal time rounding;

               16                      b. Failed to provide all legally-requisite meal periods;

               17                      c: Failed to authorize and permit all paid legally-requisite rest periods;

               18                      d. Failed to timely furnish accurate itemized wage statements;

               19                      e. Violated Labor Code §203;

              20                       f.    Incurred penalties pursuant to Labor Code §§2698, et seq.; and

              21                       g. Conducted unfair business practices.

               22       DEFENDANT, HYATT CORPORATION d/bla "Manchester Grand Hyatt San Diego"

               23              9.      Defendant HYATT CORPORATION d/bla '.'Manchester Grand Hyatt San~Diego"

               24       is now and/or at all times mentioned in this Complaint was a Delaware corporation and the

              25        owner and operator of an industry, business and/or facility(/ies) licensed to do business and

              26        actually doing business in the State of California.

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                   1   DOES 1 TO 100, INCLUSIVE

                   2           10.     DOES 1 to 100, inclusive are now, and/or at all times mentioned in this

                   3   Complaint were licensed to do business and/or actually doing business in California.

                   4           11.     Plaintiffs do not know the true names or capacities, whether individual, partner or

                   5   corporate, of DOES 1 to 100, inclusive and for that reason, DOES 1 to 100 are sued under such

                   6   fictitious names pursuant to California Code of Civil Procedure ("CCP") §474.

                   7           12.     Plaintiffs will seek leave of court to amend this Complaint to allege such names and

                   8   capacities as soon as they are ascertained.

                   9   ALL DEFENDANTS

               10              13.     Defendants, and each of them, are now and/or at all times mentioned in this

               11      Complaint were in some manner legally responsible for the events, happenings and circumstances

               12      alleged in this Complaint.

               13              14.     Defendants, and each of them, proximately subjected Plaintiffs to the unlawful

               14      practices, wrongs, complaints, injuries and/or damages alleged in this Complaint.

               15              15.     Defendants, and each of them, are now and/or at all times mentioned in this

               16      Complaint were the agents, servants and/or employees of some or all other Defendants, and vice-

              17       versa, and in doing the things alleged in this Complaint, Defendants are now and/or at all times

               18      mentioned in this Complaint were acting within the course and scope of that agency, servitude

               19      and/or employment.

              20               16.     Defendants, and each of them, are now and/or at all times mentioned in this

              21       Complaint were members of and/or engaged in a joint venture, partnership and common

              22       enterprise, and were acting within the course and scope of, and in pursuance of said joint

              23       venture, partnership and common enterprise.

              24               17.     Defendants, and each of them, at all times mentioned in this Complaint concurred

              25       and contributed to the various acts and omissions of each and every one of the other Defendants

              26       in proximately causing the complaints, injuries and/or damages alleged in this Complaint.

              27               18.     Defendants, and each of them, at all times mentioned in this Complaint approved

              28       of, condoned and/or otherwise ratified each and every one of the acts and/or omissions alleged in
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                  1     this Complaint.

                  2             19.     Defendants, and each of them, at all times mentioned in this Complaint aided and

                  3     abetted the acts and omissions of each and every one of the other Defendants thereby

                  4     proximately causing the damages alleged in this Complaint.

                  5                                                        m.
                  6                                       JURISDICTION AND VENUE

                  7             20.     The California Superior Court has jurisdiction in this matter due to Defendants'

                  8     aforementioned violations of California statutory law and/or related common law principles.

                  9             21.     The California Superior Court also has jurisdiction in this matter because both the

               10       individual and aggregate monetary damages and restitution sought herein exceed the minimal

               11       jurisdictional limits of the Superior Court and will be established at trial, according to proof.

               12               22.     The California Superior Court also has jurisdiction in this matter because during

               13       their employment with Defendants, Plaintiff MICHAEL D. BRUMBACH and the members of the

               14       putative Classes herein were all California citizens. Further, there is no federal question at issue, as

               15       the issues herein are based solely on California statutes and law.

               16               23.     Venue is proper in San Diego County pursuant to CCP §395(a) and CCP §395.5 in

           - 17         that liability arose there because at least some of the transactions that are the subject matter of this

               18       Complaint occurred therein and/or each Defendant either is found, maintains offices, transacts

               19       business, and/or has an agent therein.

               20                                                          IV.

               21                                       CLASS ACTION ALLEGATIONS

               22               24.     CCP §3 82 provides in pertinent part: " ... [W]hen the question is one of a common

               23       or general interest, of many persons, or when the parties are numerous, and it is impracticable to

               24       bring them all before the court, one or more may sue or defend for the benefit of all." Plaintiffs

               25       bring this suit as a class action pursuant to CCP §382.

               26               25.     The putative classes Plaintiffs will seek to certify are currently composed of and

               27       defined. as follows:

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                   1         a. All California citizens employed by Defendants as hourly-paid, non-exempt

                   2            employees during the appropriate time period at Defendants' Manchester

                   3            Grand Hyatt San Diego only, to whom Defendants applied a time rounding

                   4            policy and practice as specifically described herein (hereinafter, the

                   5            "Rounding Class");

                   6         b. All California citizens employed by Defendants as hourly-paid, non-exempt

                   7            employees who worked as bartenders, barbacks, waiters, cocktail servers,

                   8            server assistants, food runners, bouncers, and any of Defendants' job positions

                   9            with substantially similar titles and/or duties as these during the appropriate

                10              time period at Defendants' Manchester Grand Hyatt San Diego

                11              restaurants/cocktail lounges (including but not limited to Top of the Hyatt,

                12              GrandEats, Sally's Fish House & Bar, Brew30 California Taps, The Landing,

                13              Seaview, and Pool Bar & Grill) only, who were subjected to Defendants'

                14              policies and practices regarding meal periods as specifically described herein

                15              (hereinafter, the "Meal Period Class");

                16           c. All California citizens employed by Defendants as hourly-paid, non-exempt

                17              employees who worked as bartenders, barbacks, waiters, cocktail servers,

                18              server assistants, food runners, bouncers, and any of Defendants' job positions

                19              with substantially similar titles and/or duties as these during the appropriate

                20              time period at Defendants' Manchester Grand Hyatt San Diego

                21              restaurants/cocktail lounges (including but not limited to Top of the Hyatt,

                22              GrandEats, Sally's Fish House & Bar, Brew30 California Taps, The Landing,

                23              Seaview, and Pool Bar & Grill) only, who were subjected to Defendants'

                24              policies and practices regarding paid rest periods as specifically described

                25              herein (hereinafter, the "Rest Period Class");

                26           d. All California citizens employed by Defendants as hourly-paid, non-exempt

                27              employees during the appropriate time period at Defendants' Manchester

                28              Grand Hyatt San Diego only, who were subjected to Defendants' policies and
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                  1                        practices regarding itemized wage statements as specifically described herein

                  2                        (hereinafter, the "Wage Statement Class");

                  3                  e. All formerly-employed California citizens employed by Defendants as hourly-

                  4                        paid, non-exempt employees during the appropriate time period at

                  5                        Defendants' Manchester Grand Hyatt San Diego only, who were subjected to

                  6                        Defendants' policies and practices regarding Labor Code §203 and the

                  7                        payment of final wages as specifically described herein (hereinafter, the "LC

                  8                        203 Class"); and

                  9                  f.    All California citizens employed by Defendants as hourly-paid, non-exempt

              10                           employees during the appropriate time period at Defendants' Manchester

              11                           Grand Hyatt San Diego only, regarding whom Defendants have engaged in

              12                           unlawful, unfair and/or fraudulent business acts or practices prohibited by

              13                           B&PC § 17200, et seq. as specifically described herein (hereinafter, the

              14                           "17200 Class").

              15             26.     The Rounding Class, Meal Period Class, Rest Period Class, Wage Statement

              16      Class, LC 203 Class and 17200 Class are herein collectively referred to as the "Classes."

              17             27.     Throughout discovery in this litigation, Plaintiffs may find it appropriate and/or

              18      necessary to amend the definition of the Classes. Plaintiffs will formally define and designate a

              19      class definition at such time when Plaintiffs seek to certify the Classes alleged herein.

             20              28.     Numerosity (CCP §382):

             21                      a. The potential quantity of members of the Classes as defined is so numerous

             22                            that joinder of all members is unfeasible and impractical;

             23                      b. The disposition of the claims of the members of the Classes through.this class

             24                            action will benefit both the parties and this Court;

             25                      c. The quantity of members of the Classes is unknown to Plaintiffs at this time;

             26                            however, it is estimated that the membership of the Classes numbers greater

             27                            than 100 individuals; and

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                   1                   d. The quantity and identity of such membership is readily ascertainable via

                   2                        inspection of Defendants' records.

                   3           29.     Superiority (CCP §382): The nature of this action and the nature of the laws

                   4    available to Plaintiffs make the use of the class action format particularly efficient and the

                   5    appropriate procedure to afford relief to Plaintiffs for the wrongs alleged herein, as follows:

                   6                    a. California has a public policy which encourages the use of the class action

                   7                        device;

                   8                   b. By establishing a technique whereby the claims of many individuals can be

                   9                        resolved at the same time, the class suit both eliminates the possibility of

                10                          repetitious litigation and provides small claimants with a method of obtaining

                11                          redress for claims which would otherwise be too small to warrant individual

                12                          litigation;

                13                      c. This case involves large corporate Defendants and a large number of

                14                          individual Class members with many relatively small claims and common

                15                          issues of law and fact;

                16                    . d. If each individual member of the Classes was required to file an individual
            · 17                            lawsuit, the large corporate Defendants would necessarily gain an

                18                          unconscionable advantage because Defendants would be able to exploit and

                19                          overwhelm the limited resources of each individual member of the Classes

               20                           with Defendants' vastly superior financial and legal resources;

               21                      e. Requiring each individual member of the Classes to pursue an individual

               22                           remedy would also discourage the assertion of lawful claims by the members

               23                           of the Classes who would be disinclined to pursue an action against

               24                           Defendants because of an appreciable and justifiable fear of retaliation and

               25                           permanent damage to their lives, careers and well-being;

               26                      f.   Proof of a common business practice or factual pattern, of which the members

               27                           of the Classes experienced, is representative of the Classes herein and will

               28                           establish the right of each of the members of the Classes to recover on the
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                  1                        causes of action alleged herein;

                  2                   g. Absent class treatment, the prosecution of separate actions by the individual

                  3                        members of the Classes, even if possible, would likely create:

                  4                        i)       a substantial risk of each individual plaintiff presenting in separate,

                  5                                 duplicative proceedings the same or essentially similar arguments and

                  6                                 evidence, including expert testimony;

                  7                        ii)      a multiplicity of trials conducted at enormous expense to both the

                  8                                 judicial system and the litigants;

                  9                        iii)     inconsistent or varying verdicts or adjudications with respect to the

                 10                                 individual members of the Classes against Defendants;

                 11                        iv)      potentially incompatible standards of conduct for Defendants; and

                 12                        v)       potentially incompatible legal determinations with respect to

                 13                                 individual members of the Classes which would, as a practical matter,

                 14                                 be dispositive of the interest of the other members of the Classes who

                 15                                 are not parties to the adjudications or which would substantially

                 16                                 impair or impede the ability of the members of the Classes to protect

                 17                                 their interests.

                 18                   h. The claims of the individual members of the Classes are not sufficiently large

                 19                        to warrant vigorous individual prosecution considering all of the concomitant

                 20                        costs and expenses attendant thereto;

                 21                   i.   Courts seeking to preserve efficiency and other benefits of class actions

                 22                        routinely fashion methods to manage any individual questions; and

                 23                   J.   The Supreme Court of California urges trial courts, which have an obligation

                 24                        to consider the use of innovative procedural tools to certify a manageable

                 25                        class, to be procedurally innovative in managing class actions.

                 26           30.     Well-defined Community of Interest: Plaintiffs also meet the established

                 27    standards for class certification (see, e.g. Lockheed Martin Corp. v. Superior Court (2003) 29

                 28    Cal.4th 1096), as follows:
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                  1         a. Typicality: The claims of Plaintiff MICHAEL D. BRUMBACH are typical of

                  2            the claims of all members of the Classes he seeks to represent because all

                  3            members of the Classes sustained injuries and damages arising out of

                  4            Defendants' common course of conduct in violation of law and the injuries

                  5            and damages of all members of the Classes were caused by Defendants'

                  6            wrongful conduct in violation of law, as alleged herein.

                  7         b. Adequacy: Plaintiff MICHAEL D. BRUMBACH:

                  8            i)     is an adequate representative of the Classes he seeks to represent;

                  9            ii)    will fairly protect the interests of the members of the Classes;

              10               iii)   has no interests antagonistic to the members of the Classes; and

              11               iv)    will vigorously pursue this suit via attorneys who are competent,

              12                      skilled and experienced in litigating matters of this type.

              13            c. Predominant Common Questions of Law or Fact: There are common

              14               questions of law and/or fact as to the members of the Classes which

              15               predominate over questions affecting only individual members of the Classes,

              16               including, without limitation:
              17-              i)     Whether Defendants' time rounding policies and practices are illegal

              18                      with regard to the members of the Rounding Class;

              19               ii)    Whether Defendants failed and continue to fail to provide legally-

              20                      requisite meal periods to the members of the Meal Period Class in

              21                      violation of the Labor Code and Section 11 of the !WC Wage Orders;

              22               iii)   Whether Defendants failed and continue to fail to authorize and permit

              23                      paid legally-requisite rest periods-to the members of the Rest Period

              24                      Class in violation of the Labor Code and Section 12 of the !WC Wage

              25                      Orders;

              26               iv)    Whether Defendants failed to timely furnish accurate, itemized and

              27                      legal wage statements to the members of the Wage Statement Class;

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                      1                         v)      Whether Defendants are liable pursuant to Labor Code §203 to the

                      2                                 members of the LC 203 Class;

                      3                         vi)     Whether Defendants' conduct constitutes unfair competition within th

                      4                                 meaning ofB&PC §17200, et seq.;

                      5                         vii)    Whether Defendants' conduct constitutes unfair business practices

                      6                                 within the meaning of B&PC § 17200, et seq.;

                      7                         viii)   Whether the members of the Classes are entitled to compensatory

                      8                                 damages, and if so, the means of measuring such damages;

                      9                         ix)     Whether the members of the Classes are entitled to injunctive relief;

                   10                           x)      Whether the members of the Classes are entitled to restitution; and

                   11                           xi)     Whether Defendants are liable for attorneys' fees and costs.

                   12               31.     Whether each member of the Classes might be required to ultimately justify an

                   13       individual claim does not preclude maintenance of a class action (see, e.g. Collins v. Rocha

                   14       (1972) 7 Cal.3d 232, 238).

                   15                                                        v.
                   16                                             CAUSES OF ACTION

                   17                                         FIRST CAUSE OF ACTION

                   18                     FAILURE TO PAY ALL WAGES DUE TO ILLEGAL ROUNDING

                   19                                       (On Behalf of the Rounding Class)

                   20                                            (Against All Defendants)

                   21               32.     Plaintiffs incorporate by reference and reallege each and every one of the

                   22       allegations contained in the preceding and foregoing paragraphs of this Complaint as if fully set

                   23       forth herein.

                   24               33.     Labor Code §204 establishes the fundamental right of all employees in the State

                   25       of California to be paid wages, including straight time and overtime, in a timely fashion for their

                   26       work.

                   27               34.     Labor Code §5 lO(a) states in pertinent part: "Any work in excess of eight hours i

                   28       one workday and any work in excess of 40 hours in any one workweek ... shall be compensated
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                  1   at the rate of no less than one and one-half times the regular rate of pay for any employee."

                  2          35.     Labor Code §1182.12, effective July 1, 2014, states: "Notwithstanding any other

                  3   provision of this part, on and after July 1, 2014, the minimum wage for all industries shall be not

                  4   less than nine dollars ($9) per hour, and on and after January 1, 2016, the minimum wage for all

                  5   industries shall be not less than ten dollars ($10) per hour." Further, pursuant to Labor Code

                  6   § 1182.12(b)( 1)(A), for any employer who employs 26 or more employees, the minimum wage

                  7   shall be as follows: "From January 1, 2017, to December 31, 2017, inclusive, - ten dollars and

                  8   fifty cents ($10.50) per hour." Pursuant to Labor Code§ 1182.12(b)(l)(B), for any employer who

                  9   employs 26 or more employees, the minimum wage shall be as follows: "From January 1, 2018,

               10     to December 31, 2018, inclusive, - eleven dollars ($11) per hour." Pursuant to Labor Code

               11     §1182.12(b)(l)(C), for any employer who employs 26 or more employees, the minimum wage

               12     shall be as follows: "From January 1, 2019, to December 31, 2019, inclusive, - twelve dollars

               13     ($12) per hour." Pursuant to Labor Code §1182.12(b)(l)(D), for any employer who employs 26

               14     or more employees, the minimum wage shall be as follows: "From January 1, 2020, to December

               15     31, 2020, inclusive, - thirteen dollars ($13) per hour." Pursuant to Labor Code

               16     §1182.12(b)(l)(E), for any employer who employs 26 or more employees, the minimum wage

               17     shall be as follows: "From January 1, 2021, to December 31, 2021, inclusive, - fourteen dollars

               18     ($14) per hour." Finally, pursuant to Labor Code §1182.12(b)(l)(F), for any employer who

               19     employs 26 or more employees, the minimum wage shall be as follows: "From January 1, 2022,

               20     and until adjusted by subdivision (c) - fifteen dollars ($15) per hour."

               21            36.     Labor Code §§1194(a) states: "Notwithstanding any agreement to work for a

               22     lesser wage, any employee receiving less than the legal minimum wage or the legal overtime

               23     compensation applicable to the employee is entitled to recover in a civil action the unpaid

               24     balance of the full amount of this minimum wage or overtime compensation, including interest

               25     thereon, reasonable attorney's fees, and costs of suit."

               26            37.     Further, pursuant to Labor Code § 1197, payment of less than the minimum wage

               27     fixed by the Labor Commission is unlawful.

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                       1              38.     Pursuant to Labor Code § 1198, it is unlawful to employ persons for longer than

                       2      the hours set by the Industrial Welfare Commission or under conditions prohibited by the IWC

                       3      Wage Order(s).

                       4              39.     Pursuant to the IWC Wage Order(s), Defendants are required to pay the members

                       5      of the Rounding Class for all hours worked, meaning the time during which an employee is

                       6      subject to the control of an employer, including all the time the employee is suffered or permitte

                       7      to work, whether or not required to do so.

                       8              40.     Defendants, as a matter of established company policy and procedure,

                       9      consistently, at least until approximately June 1, 2019:

                    10                        a.      Administered a uniform company policy and practice as to the rounding

                    11                                policies regarding the members of the Rounding Class; and

                    12                        b.      Rounded the actual time worked and recorded by the members of the

                    13                                Rounding Class, usually down, so that during the course of their

                    14                                employment, the members of the Rounding Class were paid far less than

                    15                                they would have been paid had they been paid for actual recorded time

                    16                                rather than "rounded" time.

                    17               41.      Because Defendants required the members of the Rounding Class to remain under

                    18        Defendants' control without paying therefore, this resulted in the members of the Rounding

                    19        Class earning less than the legal minimum wage in the State of California.

                    20               42.      Defendants' pattern, practice and uniform administration of corporate policy

                    21        regarding illegal employee compensation as described herein is unlawful and creates an

                    22        entitlement, pursuant to Labor Code §218, to recovery by Plaintiffs and the members of the

                    23        Rounding Class, in a civil action, of the unpaid balance of the full amount of wages owing,

                    24        calculated at the appropriate rate.

                    25               43.     Further, Defendants' pattern and practice in uniform administration of corporate

                    26        policy regarding Defendants' failure to pay the legal minimum wage to the members of the

                    27        Rounding Class as described herein is unlawful and creates entitlement, pursuant to Labor Code

                    28        § l 194(a), to recovery by the members of the Rounding Class, in a civil action, for the unpaid
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                 1    balance of the full amount of the unpaid minimum wages owed, calculated as the difference

                 2    between the straight time compensation paid and the applicable minimum wage (and/or the full

                 3    amount of unpaid overtime compensation, which includes any unpaid straight time and unpaid

                 4    overtime premium for overtime hours worked), including interest thereon.

                 5              44.    Pursuant to Labor Code § 1194.2(a) (which provides that in any action under

                 6    Labor Code § 1194, an employee shall be entitled to recover liquidated damages), the members o

                 7    the Rounding Class seek recovery of liquidated damages on the straight-time portion of

                 8    uncompensated hours of work (not including the overtime portion thereof) in an amount equal to

                 9    the wages unlawfully unpaid and interest thereon.

              10                45.    That calculation of individual damages for the members of the Rounding Class

              11      may at some point be required does not foreclose the possibility of taking common evidence on

              12      questions regarding their entitlement to overtime compensation (see, e.g. Collins v. Rocha (1972

              13      7 Cal.3d 232; Hypolite v. Carleson (1975) 52 Cal.App.3d 566; Employment Development Dept.

              14      v. Superior Court (1981) 30 Cal.3d 256).

              15                46.    Pursuant to Labor Code §218.6, Labor Code §1194(a) and CC §3287, the

              16      members of the Rounding Class seek recovery of pre-judgment interest on all amounts recovered

              17      herein.

              18                47. · · Pursuant to Labor Code §218.5 and/or Labor Code§ 1194, the members of the

              19      Rounding Class request that the Court award reasonable attorneys' fees and costs incurred by

             20       them in this action.

             21                                        SECOND CAUSE OF ACTION

             22                               FAILURE TO PROVIDE ALL MEAL PERIODS

             23                                      (On Behalf of the Meal Period Class)

             24                                            (Against All Defendants)

             25                 48.    Plaintiffs incorporate by reference and reallege each and every one of the

             26       allegations contained in the preceding and foregoing paragraphs of this Complaint as if fully set

             27       forth herein.

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                  1             49.     Labor Code §226.7(b) provides that "An employer shall not require an employee

                 2     to work during a meal or rest or recovery period mandated pursuant to an applicable statute, or

                 3     applicable regulation, standard, or order of the Industrial Welfare Commission, the Occupational

                 4     Safety and Health Standards Board, or the Division of Occupational Safety and Health."

                 5              50.     Labor Code §512 provides that "An employer may not employ an employee for a

                 6     work period of more than five hours per day without providing the employee with a meal period

                 7     of not less than 30 minutes, except that if the total work period per day of the employee is no

                  8    more than six hours, the meal period may be waived by mutual consent of both the employer and

                  9    employee. An employer may not employ an employee for a work period of more than 10 hours

               10      per day without providing the employee with a second meal period of not less than 30 minutes,

               11      except that if the total hours worked is no more than 12 hours, the second meal period may be

               12      waived by mutual consent of the employer and the employee only if the first meal period was not

               13      waived."

               14               51.     Labor Code §516 provides that the Industrial Welfare Commission "may adopt or

               15      amend working condition orders with respect to break periods, meal periods, and days of rest for

               16      any workers in California consistent with the health and welfare of those workers."

                                52. ·   Section ~11(C) of the IWC Wage Orders provides that "Unless the employee is

               18      relieved of all duty during a 30 minute meal period, the meal period shall be considered an "on

               19      duty" meal period and counted as time worked. An "on duty" meal period shall be permitted

               20      only when the nature of the work prevents an employee from being relieved of all duty and when

               21      by written agreement between the parties an on-the-job paid meal period is agreed to. The

               22      written agreement shall state that the employee may, in writing, revoke the agreement at any

               23      time."

               24               53.     Section 1 l(D) of the IWC Wage Order(s) provides that "If an employer fails to

               25      provide an employee a meal period in accordance with the applicable provisions of this order, th

               26      employer shall pay the employee one (1) hour of pay at the employee's regular rate of

               27      compensation for each workday that the meal period is not provided."

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                  1           54.     On one or more occasions, the members of the Meal Period Class worked over

                  2    five (5) hours per shift and therefore were entitled to an uninterrupted meal period of not less

                  3    than thirty (30) minutes prior to exceeding five (5) hours of employment.

                  4           55.     Further, on one or more occasions, some members of the Meal Period Class

                  5    worked over ten (10) hours per shift and therefore were entitled to an uninterrupted second meal

                  6    period of not less than 30 minutes prior to exceeding ten (10) hours of employment.

                  7           56.     The members of the Meal Period Class did not validly or legally waive their meal

                  8    periods, by mutual consent with Defendants or otherwise.

                  9            57.    The members of the Meal Period Class did not enter into any written agreement

               10      with Defendants agreeing to an on-the-job paid meal period.

               11              58.    As a matter of Defendants' established company policy, Defendants failed to

               12      always comply with the meal period requirements established by Labor Code §226.7, Labor

               13      Code §512, Labor Code §516 and Section 11 of the IWC Wage Order(s) by failing to always

               14      provide the members of the Meal Period Class with a first and in some cases a second legally

               15      compliant meal period.

               16              59.    Pursuant to Section 1 l(D) of the IWC Wage Order(s) and Labor Code §226.7(c)

               17      which states "If an employer fails to provide an employee a meal or rest or recovery period in

               18      accordance with a state law, including, but not limited to, an applicable statute or applicable

               19      regulation, standard, or order of the Industrial Welfare Commission, the Occupational Safety and

               20      Health Standards Board, or the Division of Occupational Safety and Health, the employer shall

               21      pay the employee one additional hour of pay at the employee's regular rate of compensation for

               22      each workday that the meal or rest or recovery period is not provided.," the members of the Meal

               23      Period Class are entitled to damages in an amount equal to one (1) additional hour of pay at each

               24      employee's regular rate of compensation for each work day that the meal period was not

               25      provided, in a sum to be proven at trial.

               26              60.    Pursuant to Labor Code §218.6 and CC §3287, the members of the Meal Period

               27      Class seek recovery of pre-judgment interest on all amounts recovered herein.

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                   1                                     TlllRD CAUSE OF ACTION

                   2            FAILURE TO AUTHORIZE AND PERMIT ALL PAID REST PERIODS

                   3                                 (On Behalf of the Rest Period Class)

                   4                                        (Against All Defendants)

                   5          61.      Plaintiffs incorporate by reference and reallege each and every one of the

                   6   allegations contained in the preceding and foregoing paragraphs of this Complaint as if fully set

                   7   forth herein.

                   8           62.     Labor Code §226.7(b) provides that "An employer shall not require an employee

                   9   to work during a meal or rest or recovery period mandated pursuant to an applicable statute, or

                  10   applicable regulation, standard, or order of the Industrial Welfare Commission, the Occupational

                  11   Safety and Health Standards Board, or the Division of Occupational Safety and Health."

                  12           63.     Labor Code §516 provides that the Industrial Welfare Commission "may adopt or

                  13   amend working condition orders with respect to break periods, meal periods, and days of rest for

                  14   any workers in California consistent with the health and welfare of those workers."

                  15           64.     Section 12(A) of the IWC Wage Order(s) states: "Every employer shall authorize

                  16   and permit all employees to take rest periods, which insofar as practicable shall be in the middle

                  17 . of-each work period. The authorized rest period time shall be based on the total hours worked

                  18   daily at the rate often (10) minutes net rest time per four (4) hours or major fraction thereof.

                  19   However, a rest period need not be authorized for employees whose total daily work time is less

                  20   than three and one-half (3 ½) hours. Authorized rest period time shall be counted as hours

                  21   worked for which there shall be no deduction from wages."

                  22           65.     Section 12(B) of the IWC Wage Order(s) states: "If an employer fails to provide

                  23   an employee a rest period in accordance with the applicable provisions of this order, the

                  24   employer shall pay the employee one (1) hour of pay at the employee's regular rate of

                  25   compensation for each workday that the rest period is not provided."

                  26          66.      The members of the Rest Period Class sometimes worked over four (4) hours per

                  27   shift. Further, the members of the Rest Period Class sometimes worked over six (6) hours per

                  28   shift, and in some cases over ten (10) hours per shift.
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                      1             67.      The members of the Rest Period Class were entitled to a rest period of not less

                     2       than ten (10) minutes for every four (4) hours of work, or major fraction thereof.

                      3              68.     As a matter of Defendants' established company policy, Defendants failed to

                      4      always authorize and permit all required rest periods established by Labor Code §226.7 and

                      5      Labor Code §516 and Section 12 of the IWC Wage Order(s).

                      6              69.     Pursuant to Section 12 of the IWC Wage Order(s) and Labor Code §226.?(b)

                      7      which states "If an employer fails to provide an employee a meal or rest or recovery period in

                      8      accordance with a state law, including, but not limited to, an applicable statute or applicable

                      9      regulation, standard, or order of the Industrial Welfare Commission, the Occupational Safety and

                   10        Health Standards Board, or the Division of Occupational Safety and Health, the employer shall

                   11        pay the employee one additional hour of pay at the employee's regular rate of compensation for

                   12        each workday that the meal or rest or recovery period is not provided," the members of the Rest

                   13        Period Class are entitled to damages in an amount equal to one (1) additional hour of pay at each

                   14        employee's regular rate of compensation for each work day that one or more rest periods were

                   15        not so provided.

                   16                70.     Pursuant to Labor Code §218.6 and CC §3287, the members of the Rest Period

                   17        Class seek recovery of pre-judgment interest on all amounts recovered herein.

                   18                                        FOURTH CAUSE OF ACTION

                   19          FAILURE TO TIMELY FURNISH ACCURATE ITEMIZED WAGE STATEMENTS

                  20                                     (On Behalf of the Wage Statement Class)

                  21                                             (Against All Defendants)

                  22                 71.     Plaintiffs incorporate by reference and reallege each and every one of the

                  23         allegations contained in the preceding and foregoing paragraphs of this Complaint as if fully set

                  24         forth herein.

                  25                 72.     Labor Code §226(a) states in pertinent part: "Every employer shall, semimonthly

                  26         or at the time of each payment of wages, furnish each of his or her employees, either as a

                  27         detachable part of the check, draft, or voucher paying the employee's wages, or separately when

                  28         wages are paid by personal check or cash, an accurate itemized statement in writing showing (1)
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                  1    gross wages earned, (2) total hours worked by the employee ... (4) all deductions ... (5) net wages

                  2    earned, (6) the inclusive dates of the period for which the employee is paid ... (8) the name and

                  3    address of the legal entity that is the employer, and (9) all applicable hourly rates in effect during

                  4    the pay period and the corresponding number of hours worked at each hourly rate by the

                  5    employee .... ".

                  6            73.        Further, the IWC Wage Orders §7(A) states in pertinent part: "(A) Every

                  7    employer shall keep accurate information with respect to each employee including the following:

                  8    (3) Time records showing when the employee begins and ends each work period. Meal periods,

                  9    split shift intervals, and total daily hours worked shall also be recorded ... (5) Total hours worked

              10       in the payroll period and applicable rates of pay ...."

              11               74.        Therefore, pursuant to Labor Code §226(a) and the IWC Wage Orders §7(A),

              12       California employers are required to maintain accurate records pertaining to the total hours

              13       worked for Defendants by the members of the Wage Statement Class, including but not limited

              14       to, beginning and ending of each work period, meal period and split shift interval, the total daily

              15       hours worked, and the total hours worked per pay period and applicable rates of pay.

              16               75.        As a pattern and_practice, in violation of Labor Code §226(a) and the IWC Wage

              17       Orders §7(A),·Defendants did not and still do not furnish each of the members of the Wage

              18       Statement Class with an accurate itemized statement in writing showing ( 1) gross wages earned,

              19       (2) total hours worked by the employee, (3) all deductions, (4) net wages earned and/or (5) all

              20       applicable hourly rates in effect during each respective pay period and the corresponding number

              21       of hours worked at each hourly rate by each respective individual and/or pertaining to the total

              22       hours worked for Defendants by the members of the Wage Statement Class, including but not

              23       limited to, beginning and ending of each work period and meal period, the total daily hours

              24       worked, and the total hours worked per pay period and applicable rates of pay.

              25               76.        As of January 1, 2013, SB 1255 amended Labor Code §226 to clarify that an

              26       employee suffers injury if the employer fails to provide accurate and complete information as

              27       required by any one or more items listed in Labor Code §226(a)(l)-(9) and the employee cannot

              28       promptly and easily ascertain requisite information without reference to other documents or
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                  1    information.

                 2            77.     Here, the members of Wage Statement Class suffered injury because Defendants

                 3     failed to provide accurate and complete information as required by one or more items listed in

                 4     Labor Code §226(a)(l)-(9) and the Wage Statement Class members could not and cannot

                  5    promptly and easily ascertain requisite information without reference to other documents or

                  6    information.

                  7           78.     In addition, the members of the Wage Statement Class have suffered injury as a

                  8    result of Defendants' failure to maintain accurate records for the members of the Wage

                  9    Statement Class in that the members of the Wage Statement Class were not timely provided

               10      written accurate itemized statements showing all requisite information, including but not limited

               11      to total hours worked by the employee, net wages earned and all applicable hourly rates in effect

               12      during the pay period and the corresponding number of hours worked at each hourly rate, in

               13      violation of Labor Code §226 and the IWC Wage Orders §7(A), such that the members of the

               14      Wage Statement Class were misled by Defendants as to the correct information regarding

               15      various items, including but not limited to total hours worked by the employee, net wages earned

               16      and all applicable hourly rates in effect during the pay period and the corresponding number of

               17      hours worked at each hourly rate.

               18             79.     The actual injuries suffered by the members of the Wage Statement Class as a

               19      result of Defendants' knowing and intentional failure to maintain accurate records for the

              20       members of the Wage Statement Class include but are not limited to:

              21                      a. Confusion over whether they received all wages owed them by Defendants;

              22                      b. The difficulty and expense of attempting to reconstruct time and pay records;

              23                      c. Being forced to engage in mathematical computations to analyze w~ether

              24                         Defendants' wages in fact compensated for all hours worked;

              25                      d. The inability to accurately calculate wage rates complicated by the fact that

               26                        wage statement information required by Labor Code §226 is missing;

               27                     e. That such practice prevents the members of the Wage Statement Class from

               28                        being able to effectively challenge information on their wage statements;
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                      1                            and/or

                      2                      f.    The difficulty and expense of filing and maintaining this lawsuit, and the

                      3                            discovery required to collect and analyze the very information that California

                      4                            law requires.

                      5              80.     Pursuant to Labor Code §226(e), the members of the Wage Statement Class are

                      6      entitled to fifty dollars ($50.00) per employee for the initial pay period in which a violation

                      7      hereunder occurs and one hundred dollars ($100.00) per employee for each violation in a

                      8      subsequent pay period, not exceeding an aggregate penalty of four thousand dollars ($4,000.00).

                      9              81.     Pursuant to Labor Code §226(g), the currently-employed members of the Wage

                   10        Statement Class are entitled to injunctive relief to ensure Defendants' compliance with Labor

                   11        Code §226.

                   12                82.     Pursuant to Labor Code §226(e) and/or §226(g), the members of the Wage

                   13        Statement Class are also entitled to an award of costs and reasonable attorneys' fees.

                   14

                   15                                               FIFTH CAUSE OF ACTION

                   16                                       VIOLATIONS OF LABOR CODE §203

                   17                                              (On Behalf of the LC 203 Class)

                   18                                                 (Against All Defendants)

                   19                83.     Plaintiffs incorporate by reference and reallege each and every one of the

                  20         allegations contained in the preceding and foregoing paragraphs of this Complaint as if fully set

                  21         forth herein.

                   22                84.     Labor Code §203 provides that if an employer willfully fails to pay, without

                   23        abatement or reduction, in accordance with Labor Code §§201 and 202, any wages of an

                   24        employee who is discharged or who quits, the wages of the employee shall continue at the same

                  25         rate, for up to thirty (30) days from the due date thereof, until paid or until an action therefore is

                  26         commenced.

                  27                 85.     The members of the LC 203 Class are no longer employed by Defendants as they

                  28         were either discharged from or quit Defendants' employ.
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                     1             86.    Defendants had a consistent and uniform policy, practice and procedure of

                     2    willfully failing to pay the earned wages of Defendants' former employees, according to

                     3    amendment or proof.

                     4             87.    Defendants willfully failed to pay the members of the LC 203 Class their entire

                     5    wages due and owing at the time of their termination or within seventy-two (72) hours of their

                     6    resignation, and failed to pay those sums for up to thirty (30) days thereafter.

                     7             88.    Defendants' willful failure to pay wages to the members of the LC 203 Class

                     8    violates Labor Code §203 because Defendants knew or should have known wages were due to

                     9    the members of the LC 203 Class, but Defendants failed to pay them.

                   10              89.    Thus, the members of the LC 203 Class are entitled to recovery pursuant to Labor

                   11     Code §203.

                   12

                   13                                         SIXTH CAUSE OF ACTION

                   14                           PENALTIES PURSUANT TO LABOR CODE §2699

                   15                                    (On Behalf of the Aggrieved Employees)

                   16                                           (Against All Defendants)

              -17               - --90.   Plaintiffs incorporate by reference and reallege each and every one of the

                   18     allegations contained in the preceding and foregoing paragraphs of this Complaint as if fully set

                   19     forth herein.

                   20              91.    Pursuant to Labor Code §2699(a) (which provides that any provision of the Labor

                   21     Code that provides for a civil penalty to be assessed and collected by the LWDA, or any of its

                   22     departments, divisions, commissions, board agencies or employees, such civil penalties may, as

                   23     an alternative, be recovered through a civil action brought by an aggrieved employee on behalf

                   24     of himself or herself and other current or former employees) and Labor Code §2699(f) (which

                   25     establishes a civil penalty for violations of all Labor Code provisions except those for which a

                   26     civil penalty is specifically provided), the aggrieved employees seek recovery of all applicable

                   27     civil penalties, as follows:

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                       1         a. As applicable, for civil penalties under Labor Code §2699(f), for all violations

                      2             of the Labor Code except for those for which a civil penalty is specifically

                      3             provided, in the amount of one hundred dollars ($100. 00) for each aggrieved

                      4             employee per pay period for the initial violation; and two hundred dollars

                      5             ($200.00) for each aggrieved employee per pay period for each subsequent

                      6             violation;

                      7          b. As applicable, civil penalties under Labor Code §558 (in addition to and

                      8             entirely independent and apart from any other penalty provided in the Labor

                      9             Code), for violations of Labor Code §§500-556, in the amount of $50 for each

                   10               underpaid aggrieved employee for each pay period the aggrieved employee

                   11               was underpaid, and $100 for each subsequent violation for each underpaid

                   12               employee for each pay period for which the employee was underpaid;

                   13            c. As applicable, for civil penalties under Labor Code § 1197.1 (in addition to

                   14               and entirely independent and apart from any other penalty provided in the

                   15               Labor Code), for violations of Labor Code § § 1194 and 1197, in the amount of

                   16               $100 for each underpaid aggrieved employee for each pay period the

                   17               aggrieved employee was intentionally underpaid, and $250 for each

                   18               subsequent violation for each underpaid aggrieved employees regardless of

                   19               whether the initial violation was intentionally committed;

                   20            d. As applicable, for civil penalties under Labor Code §210 (in addition to and

                   21               entirely independent and apart from any other penalty provided in the Labor

                   22               Code), for each employee who is/was not paid wages in accordance with

                   23               Labor Code §§201.3, 204, 204b, 204.1, 204.2, 205, 205.5 and 1197.5) in the

                   24               amount of a civil penalty of $100 for each aggrieved employee per pay period

                   25               for each initial violation, and $200 for each aggrieved employee per pay

                   26               period for each subsequent violation;

                   27            e. As applicable, for civil penalties under Labor Code §226.3 (in addition to and

                  28                entirely independent and apart from any other penalty provided in the Labor
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                  1                        Code), for each violation of Labor Code §226(a), in the amount of $250 for

                 2                         each aggrieved employee per pay period for each violation and $1,000 for

                 3                         each aggrieved employee per pay period for each subsequent violation; and

                 4                   f.    As applicable, for any and all additional civil penalties and sums as provided

                  5                        by the Labor Code and/or other relevant statutes.

                 6           92.     In addition, Plaintiff seeks and is entitled to seventy-five percent (7 5%) of all

                 7    penalties obtained under Labor Code §2699 to be allocated to the LWDA, for education of

                  8   employers and employees about their rights and responsibilities under the Labor Code, and

                  9   twenty-five percent (25%) to Plaintiff and all other similarly situated aggrieved employees.

               10            93.     Further, Plaintiff is entitled to recover reasonable attorneys' fees and costs

               11     pursuant to Labor Code §§2699(g)(l) and any other applicable statute.

               12            94.     Labor Code §2699.3(a) states in pertinent part: "A civil action by an aggrieved

               13     employee pursuant to subdivision (a) or (f) of Section 2699 alleging a violation of any provision

               14     listed in Section 2699.5 shall commence only after the following requirements have been met:

               15     (1) (A) The aggrieved employee or representative shall give written notice by online filing with

               16     the Labor and Workforce Development Agency and by certified mail to the employer of the

               17     specific provisions ·of this code alleged to have been violated, including the facts and theories to

               18     support the alleged violation."

               19            95.     Labor Code §2699.3(c)(l) states in pertinent part: "A civil action by an aggrieved

               20     employee pursuant to subdivision (a) or (f) of Section 2699 alleging a violation of any provision

               21     other than those listed in Section 2699.5 or Division 5 (commencing with Section 6300) shall

               22     commence only after the following requirements have been met: (1) (A) The aggrieved

               23     employee or representative shall give written notice.by online filing with theLabor_and

               24     Workforce Development Agency and by certified mail to the employer of the specific provisions

               25     of this code alleged to have been violated, including the facts and theories to support the alleged

               26     violation."

               27            96.     Here, Plaintiffs' civil action alleges violations of provisions listed in Labor Code

               28     §2699.5 and violations of provisions other than those listed in Labor Code §2699.5. As such,
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                 1   Labor Code §2699.3(a) and §2699.3(c) apply to this action.

                 2          97.     On August 6, 2020, Plaintiffs complied with Labor Code §2699.3(a) and Labor

                 3   Code §2699.3(c) in that Plaintiffs gave written notice by online filing with the LWDA and by

                 4   certified mail to Defendants of the specific provisions of the Labor Code alleged to have been

                 5   violated, including the facts and theories to support the alleged violations. Attached hereto as

                 6   Exhibit "1" is Plaintiffs' LWDA letter.

                 7          98.     Labor Code §2699.3(a) further states in pertinent part: "(2)(A) The agency shall

                 8   notify the employer and the aggrieved employee or representative by certified mail that it does

                 9   not intend to investigate the alleged violation within 60 calendar days of the postmark date of the

             10      notice received pursuant to paragraph (1). Upon receipt of that notice or if no notice is provided

             11      within 65 calendar days of the postmark date of the notice given pursuant to paragraph (1), the

             12      aggrieved employee may commence a civil action pursuant to Section 2699."

             13             99.     As of October 8, 2020 ( 65 calendar days after Plaintiffs' August 6, 2020 LWDA

             14      letter was filed online), Plaintiffs had not received any notification that the LWDA intended to

             15      investigate the alleged violations. As such, Plaintiffs have complied with Labor Code §2699.3(a)

             16      and have been given authorization therefrom to commence a civil action which includes a cause

             17      of action pursuant to Labor Code §2699.

             18              100.   Further, as of September 8, 2020 (33 calendar days after Plaintiffs' August 6,

             19      2020 LWDA letter was mailed to Defendants via certified mail), Plaintiffs have not received

             20      from Defendants written notice by certified mail that the alleged violations have been cured,

             21      including a description of actions taken. As such, Plaintiffs have complied with Labor Code

             22      §2699.3(c) and have been given authorization therefrom to commence a civil action which

             23      includes a cause of action pursuant to Labor Code §2699.

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                     1                                     SEVENTH CAUSE OF ACTION

                    2                                      UNFAIR BUSINESS PRACTICES

                    3                                        (On Behalf of the 17200 Class)

                    4                                            (Against All Defendants)

                    5              101.    Plaintiffs incorporate by reference and reallege each and every one of the

                    6      allegations contained in the preceding and foregoing paragraphs of this Complaint as if fully set

                    7      forth herein.

                     8             102.    B&PC § 17200 provides in pertinent part " ... [U]nfair competition shall mean and

                     9     include any unlawful, unfair or fraudulent business act. .. ".

                   10              103.    B&PC § 17205 provides that unless otherwise expressly provided, the remedies or

                   11      penalties provided for unfair competition "are cumulative to each other and to the remedies or

                   12      penalties available under all other laws of this state."

                   13              104.    B&PC § 17204 provides that an action for any relief from unfair competition may

                   14      be prosecuted by any person who has suffered injury in fact and has lost money or property as a

                   15      result of such unfair competition.

                   16              105.    Defendants have engaged in unlawful, unfair and fraudulent business acts or

                   17      practices prohibited by B&PC § 17200, including those set forth in the preceding and foregoing

                   18      paragraphs of the complaint, thereby depriving the members of the 17200 Class of the minimum

                   19      working standards and conditions due to them under the Labor Code and/or the IWC Wage

                   20      Orders, as specifically described herein.

                   21              106.    Defendants have engaged in unfair business practices in California by practicing,

                   22      employing and utilizing the employment practices outlined in the preceding paragraphs,

                   23      specifically, by requiring employees to perform the labor services complained of herein without

                   24      the requisite compensation.

                   25              107.    Defendants' use of such practices constitutes an unfair business practice, unfair

                   26      competition and provides an unfair advantage over Defendants' competitors.

                   27              108.    Plaintiffs have suffered injury in fact and have lost money or property as a result

                   28      of such unfair competition.
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                    1          109.    Plaintiffs seek full restitution from Defendants, as necessary and according to
                   2    proof, to restore any and all monies withheld, acquired and/or converted by Defendants by mean
                   3    of the unfair practices complained of herein.

                   4           110.    Further, if Defendants are not enjoined from the conduct set forth above,

                    5   Defendants will continue to practice, employ and utilize the employment practices outlined in th

                    6   preceding paragraphs.

                    7          111.     Therefore, Plaintiffs request that the Court issue a preliminary and permanent

                    8   injunction prohibiting Defendants from engaging in the foregoing conduct.

                    9          112.     Plaintiffs seek the appointment of a receiver, as necessary, to establish the total

                  10    monetary relief sought from Defendants.

                  11                                                     VI.

                  12                                         PRAYER FOR RELIEF

                  13    WHEREFORE, Plaintiffs pray:

                  14           a.     That the Court issue an Order certifying the Classes herein, appointing all named

                  15                  Plaintiffs as representative of all others similarly situated, and appointing all law

                  16                  firms representing all named Plaintiffs as counsel for the members of the Classes;

                  17    As to the First Cause of Action for Failure to Pay All Wages Due To Illegal Rounding:

                  18           b.     For recovery of the unpaid balance of the full amount of the straight time

                  19                  compensation due and owing, according to proof;

                  20           c.     For liquidated damages on the straight-time portion of uncompensated hours of

                  21                  work (not including the overtime portion thereof), as authorized by Labor Code

                  22                  §1194.2(a);

                  23           d.     For recovery of the unpaid balance of the full amount of overtime compensation

                  24                  due and owing, calculated at the appropriate rate and according to proof;

                  25           e.     For pre-judgment interest as allowed by Labor Code §218. 6, Labor Code § 1194(a)

                  26                  and CC §3287;

                  27           f.     For an award ofreasonable attorneys' fees and costs pursuant to Labor Code §218.5
                  28                  and/or Labor Code § 1194(a);
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  I.c,;ANGELES,CA
     90025-3361
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 FAX:(323)549-0101
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                   1      As to the Second Cause of Action for Failure to Provide Meal Periods:

                   2             g.     For one (1) hour of pay at the regular rate of compensation for each member of the

                   3                    Meal Period Class for each workday that a meal or rest period was not provided;

                   4             h.     For pre-judgment interest as authorized by Labor Code §218.6 and CC §3287;

                   5      As to the Third Cause of Action for Failure to Authorize and Permit Paid Rest Periods:

                   6             i.     For one (1) hour of pay at the regular rate of compensation for each member of the

                   7                    Rest Period Class for each workday that a meal or rest period was not provided;

                   8             J.     For pre-judgment interest as authorized by Labor Code §218.6 and CC §3287;

                   9      As to the Fourth Cause of Action for Failure to Timely Furnish Accurate Itemized Wage

                10        Statements:

                11               k.     For recovery as authorized by Labor Code §226(e);

                12               1.     For an award of costs and reasonable attorneys' fees pursuant to Labor Code

                13                      §226(e) and/or §226(g);

                14        As to the Fifth Cause of Action for Violations of Labor Code §203:

                 15              m.     For recovery as authorized by Labor Code §203;

                16        As to the Sixth Cause of Action for Penalties Pursuant to Labor Code §2699:

                 17              n.     As applicable, for civil penalties pursuant to Labor Code §2699(f), in addition to

                 18                     and entirely independent and apart from other penalties in the Labor Code and for

                 19                     Labor Code violations without a specific civil penalty, in the amount of $100 for

                20                      each aggrieved employee per pay period for each violation, and $200 for each

                21                      aggrieved employee per pay period for each subsequent violation;

                22               o.     As applicable, for civil penalties pursuant to Labor Code §558, in addition to and

                23                      entirely independent and apart from other penalties in the Labor Code, as follows:

                24                        1     For any initial violation, fifty dollars ($50) for each aggrieved underpaid

                25                              employee for each pay period for which the employee was underpaid; and

                26                        11.   For each subsequent violation, one hundred dollars ($100) for each aggrieved

                27                              underpaid employee for each pay period for which the employee was

                28                              underpaid;
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                   1          p.   As applicable, for civil penalties pursuant to Labor Code §1197.1, in addition to an

                   2               entirely independent and apart from other penalties in the Labor Code, as follows:

                   3                 1.   For any initial violation that is intentionally committed, $100 for each

                   4                      aggrieved underpaid employee for each pay period for which the employee

                   5                      was underpaid; and

                   6                ii. For each subsequent violation, regardless of whether the initial violation is

                   7                      intentionally committed, $250 for each aggrieved underpaid employee for

                   8                      each pay period for which the employee was underpaid;

                   9          q.   As applicable, for civil penalties pursuant to Labor Code §210, in addition to and

                10                 entirely independent and apart from other penalties in the Labor Code, in the

                11                 amount of $100 for each aggrieved employee per pay period for each violation, and

                12                 $200 for each aggrieved employee per pay period for each subsequent violation;

               13             r.   As applicable, for civil penalties pursuant to Labor Code §226.3, in addition to and

                14                 entirely independent and apart from other penalties in the Labor Code, in the

                15                 amount of $250 for each aggrieved employee per pay period for each violation, and

                16                 $1,000 for each aggrieved employee per pay period for each subsequent violation;

                17            s.   As applicable, for civil penalties pursuant to Labor Code §552, in addition to and

                18                 entir_-ely independent and apart from any other penalties in the Labor Code (which

                19                 states "No employer oflabor shall cause his employees to work more than six days

               20                  in seven" because Defendants did in fact cause Plaintiff and the similarly situated

               21                  aggrieved employees to work more than six days in seven), in the amount of $250

               22                  for each aggrieved employee per pay period for each violation and $1,000 for each

               23                  aggrieved employee per pay period for each subsequent violation;

               24             t.   As applicable, for reasonable attorneys' fees and costs incurred pursuant to Labor

               25                  Code §§2699(g)(l) and any other applicable statute; and

               26             u.   For such relief as this Court may deem just and proper;

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                  1   As to the Seventh Cause of Action for Unfair Business Practices:

                  2          v.    For an accounting, under administration of Plaintiffs and/or the receiver and subject

                  3                to Court review, to determine the amount to be returned by Defendants, and the

                  4                amounts to be refunded to members of the Classes who are owed monies by

                  5                Defendants;

                  6          w.    For an Order requiring Defendants to identify each of the members of the Classes

                  7                by name, home address, home telephone number and, if available, email address;

                  8          x.    For an Order requiring Defendants to make full restitution and payment pursuant to

                  9                California law;

              10             y.    For an Order for a preliminary and/or permanent injunction prohibiting Defendants

              11                   from engaging in the acts complained of herein;

              12             z.    For the creation of an administrative process wherein each injured member of the

              13                   Classes may submit a claim in order to receive his/her money;

              14             aa.   For all other appropriate injunctive, declaratory and equitable relief;

              15             bb.   For interest to the extent permitted by law;

              16             cc.   For an award ofattorneys' fees and costs incurred in the investigation, filing and

              17                   prosecution of this action pursuant to CCP §1021.5, B&PC §17200, et seq., Labor

              18                   Code § 1194 and/or any other applicable provision of law;

              19      As to All Causes of Action:

              20             dd.   For such relief as this Court may deem just and proper, including reasonable

              21                   attorneys' fees and costs incurred.

             22                                                      VII.

             23                                       DEMAND FOR JURY TRIAL

             24             Plaintiffs hereby demand trial of their claims by jury to the extent authorized by law.

             25       Dated: October 9, 2020                        LAW OFFICES OF KEVIN T. BARNES

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                                                                    By:   ~Y./f~
                                                                            Kevin T. Barnes, Esq.
                                                                            Gregg Lander, Esq.
             28                                                             Attorneys for Plaintiffs
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                              EXHIBIT 1
 Case 3:20-cv-02231-WQH-KSC Document 1-2 Filed 11/16/20 PageID.65 Page 37 of 42

                                                    LAW OFFICES OF
                                           KEVIN T. BARNES
     KEVIN T. BARNES                                                                       A Professional Law Corporation
      GREGG LANDER                       1635 PONTTIJS AVENUE, 2ND FLOOR
                                        LOS ANGELES, CALIFORNIA 90025-3361
                                                                                                 www.kbames.com
       OF COUNSEL:
    JOSEPH ANTONELLI                           TELEPHONE: (323) 549-9100
                                      Toll-Free: (877) 309-3577 / FAX: (323) 549-0101          Bames@kbames.com


                                                   August 6, 2020

VIA ELECTRONIC MAIL ($75 filing fee to follow by mail)

PAGA Administrator
California Labor and Workforce Development Agency
PAGAfilings@dir.ca.gov

      Re:   HYATT CORPORATION d/b/a "Manchester Grand Hyatt San Diego" (hereafter, the
"Employer")

NOTICE OF LABOR CODE VIOLATIONS PURSUANT TO LABOR CODE §2699.3

       To:     PAGA Administrator, California Labor and Workforce Development Agency and the Employer

        From: MICHAEL BRUMBACH (the "Employee"), who was subjected to the wage and hour practices
set forth below

        The Employee, by way of the above-named counsel, submits this Notice, pursuant to and in compliance
with the requirements of California Labor Code §2699.3(a)/(c), and alleges the facts and theories to support the
alleged violations as follows:

        During the applicable time period, the Employer employed the Employee and all other similarly situated
aggrieved employees as hourly-paid, non-exempt employees, including but not limited to Bartenders, barbacks,
waiters, cocktail servers, server assistants, food runners & bouncers at the Employer's California facilities
(including but not limited to the Top of the Hyatt, Grand Lobby Bar, Sally's Fish House, Brew 30, and Pool
Bar), and utilized consistent policies and procedures regarding the Employee and all such other similarly
situated aggrieved employees, as follows:

         First, the Employer utilized a time rounding policy that ignored employees' actual time punches and
rounded their time. This policy ( combined with the fact that employees often arrived early and/or worked late)
resulted in a disproportionate impact which does not average out over a period of time, is not fair and neutral on
its face, and is used in such a manner that it will not result in failure to compensate for all time actually worked
over a period of time. As such, the Employer violated Labor Code §§204, 510, 1194, 1197, 1198 and the
applicable Industrial Wage Order, and owes penalties pursuant to Labor Code §§2699(f) and/or 558.

        Second, the Employer failed to timely provide all legally compliant meal breaks (including second meal
breaks) to the Employee and all other similarly situated aggrieved employees. The Employee and all other
similarly situated aggrieved employees routinely worked over five hours but did not always get full thirty
minute uninterrupted meal breaks within the first five hours of their shift. Further, they sometimes worked over
ten hours but were not timely provided a legally compliant second meal break. The Employer did not always
pay a meal period penalty for these violations. As such, the Employer violated Labor Code §§226. 7, 512 and
516 and the applicable Industrial Wage Order, 111, and owes penalties pursuant to Labor Code §§2699(f)
and/or 558.

        Third, the Employer failed to always provide paid rest breaks to the Employee and all other similarly
situated aggrieved employees. The Employee and all other similarly situated aggrieved employees did not
always get full ten minute uninterrupted rest breaks within the first four hours of their shift or major :fraction
thereof, and each subsequent four hours worked thereafter or major :fraction thereof. As such, the Employee and
all other similarly situated aggrieved employees were not always provided legally compliant rest breaks. The
Employer did not pay a rest period penalty for any of these violations. As such, the Employer violated Labor
Code §§226.7 and 516, and the applicable Industrial Wage Order, 112(A)/(B), and owes rest period wages and
penalties pursuant to Labor Code §§2699(f) and/or 558.
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PAGA Administrator
Re: Hyatt Corporation
August 3, 2020
Page2


       As a derivative result of some or all of the above claim(s), the Employer has also allegedly violated
Labor Code §226 and §§201-203, as follows:

        Regarding wage statements, pursuant to Labor Code §226 and the applicable Industrial Wage Order, the
Employer is required to include certain information on a paystub. Here, because the Employer allegedly failed
to pay all wages as set forth above, improper paystubs were issued by the Employer to the Employee and all
other similarly situated aggrieved employees, and the Employee alleges that the Employer has derivatively
violated Labor Code §226, and owes penalties pursuant to Labor Code §§2699(±) and/or 226.3.

        Regarding waiting time penalties, pursuant to Labor Code §203, the Employee and all other similarly
situated aggrieved employees are entitled to thirty day of wages at their regular rate of pay for the Employer's
alleged failure to pay all wages due upon separation of employment. Here, because the Employer allegedly
failed to pay all wages as set forth above, the Employee alleges that the Employer has derivatively violated
Labor Code §§201-203, and owes penalties pursuant to Labor Code §§2699(±) and/or 203.


      Pursuant to Labor Code §2699.3(a)(2)(A), please advise within sixty-five (65) calendar days of the
postmark date of this notice whether the LWDA intends to investigate these alleged violations.

        Further, pursuant to Labor Code §2699.3(c)(2)(A), the Employer may cure the alleged violations within
thirty-three (33) calendar days of the postmark date of this notice and within that period, give notice by certified
mail if the alleged violation is cured, including a description of actions taken.

        In addition, this letter clearly sets forth the Employee's grievances and proposed remedies, pursuant to
the Labor Code, PAGA and otherwise, as set forth above. The Employee would like to engage in reasonable
efforts to settle this dispute before filing a civil action against the Employer. The Employee gives the Employer
the opportunity, prior to the expiration of the deadline for the LWDA to investigate, to meet the Employee's
demands and settle this dispute.

        We understand that ifwe do not receive a response within sixty-five (65) calendar days of the postmark
and filing date of this notice that the LWDA intends to investigate these allegations and/or a notice from the
Employer that the alleged violations are cured, and/or if the alleged violations are not cured, then the Employee
may immediately thereafter commence a civil action against the Employer pursuant to Labor Code §2699.

       Thank you for your consideration.

                                                      Very Truly Yours,


                                               ~.Y.ff~Kevin T. Barnes
                                                      Gregg Lander


cc: (via Certified Mail)
Hyatt Corporation
d/b/a "Manchester Grand Hyatt San Diego"
Legal Department
150 North Riverside Plaza, 14th Floor
Chicago, IL 60606
 Case 3:20-cv-02231-WQH-KSC Document 1-2 Filed 11/16/20 PageID.67 Page 39 of 42

SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO
STREET ADDRESS:      330 W Broadway
MAILING ADDRESS:     330 W Broadway
CITY AND ZIP CODE:   San Diego, CA 92101-3827
BRANCH NAME:         Central
TELEPHONE NUMBER: (619) 450-7073

PLAINTIFF(S) / PETITIONER(S):              Michael D Brumbach

DEFENDANT(S) / RESPONDENT(S): Hyatt Corporation


 BRUMBACH VS HYATT CORPORATION [IMAGED]
                                                                                            CASE NUMBER:
 NOTICE OF CASE ASSIGNMENT AND CASE MANAGEMENT
 CONFERENCE on MANDATORY eFILE CASE                                                         37-2020-00036271-CU-OE-CTL

CASE ASSIGNED FOR ALL PURPOSES TO:
Judge: Joel R. Wohlfeil                                                               Department: C-73

COMPLAINT/PETITION FILED: 10/09/2020

TYPE OF HEARING SCHEDULED                            DATE          TIME             DEPT               JUDGE
Civil Case Management Conference                     06/11/2021    01:30 pm         C-73               Joel R. Wohlfeil


Due to the COVID-19 pandemic, all hearings will be conducted remotely until further notice. Absent an order of the court, personal
appearances at the hearing will not be allowed. For information on arranging telephonic or video appearances, contact CourtCall at
(888)882-6878, or at www.courtcall.com. Please make arrangements with CourtCall as soon as possible.

A case management statement must be completed by counsel for all parties or self-represented litigants and timely filed with the court
at least 15 days prior to the initial case management conference. (San Diego Local Rules, Division 11, CRC Rule 3.725).

All counsel of record or parties in pro per shall appear at the Case Management Conference, be familiar with the case, and be fully
prepared to participate effectively in the hearing, including discussions of ADR* options.

IT IS THE DUTY OF EACH PLAINTIFF (AND CROSS-COMPLAINANT) TO SERVE A COPY OF THIS NOTICE WITH THE
COMPLAINT (AND CROSS-COMPLAINT), THE ALTERNATIVE DISPUTE RESOLUTION (ADR) INFORMATION FORM (SDSC
FORM #CIV-730), A STIPULATION TO USE ALTERNATIVE DISPUTE RESOLUTION (ADR) (SDSC FORM #CIV-359), AND OTHER
DOCUMENTS AS SET OUT IN SDSC LOCAL RULE 2.1.5.

ALL COUNSEL WILL BE EXPECTED TO BE FAMILIAR WITH SUPERIOR COURT RULES WHICH HAVE BEEN PUBLISHED AS
DIVISION II, AND WILL BE STRICTLY ENFORCED.

TIME STANDARDS: The following timeframes apply to general civil cases and must be adhered to unless you have requested and
       been granted an extension of time. General civil cases consist of all civil cases except: small claims proceedings,
       civil petitions, unlawful detainer proceedings, probate, guardianship, conservatorship, juvenile, parking citation
       appeals, and family law proceedings.

COMPLAINTS: Complaints and all other documents listed in SDSC Local Rule 2.1.5 must be served on all named defendants.

DEFENDANT'S APPEARANCE: Defendant must generally appear within 30 days of service of the complaint. (Plaintiff may
      stipulate to no more than 15 day extension which must be in writing and filed with the Court.) (SDSC Local Rule 2.1.6)

JURY FEES: In order to preserve the right to a jury trial, one party for each side demanding a jury trial shall pay an advance jury fee in
       the amount of one hundred fifty dollars ($150) on or before the date scheduled for the initial case management conference in
       the action.

MANDATORY eFILE: Case assigned to mandatory eFile program per CRC 3.400-3.403 and SDSC Rule 2.4.11. All documents must
      be eFiled at www.onelegal.com. Refer to General Order in re procedures regarding electronically imaged court records,
      electronic filing, and access to electronic court records in civil and probate cases or guidelines and procedures.

COURT REPORTERS: Court reporters are not provided by the Court in Civil cases. See policy regarding normal availability and
unavailability of official court reporters at www.sdcourt.ca.gov.

*ALTERNATIVE DISPUTE RESOLUTION (ADR): THE COURT ENCOURAGES YOU TO CONSIDER UTILIZING VARIOUS
ALTERNATIVES TO TRIAL, INCLUDING MEDIATION AND ARBITRATION, PRIOR TO THE CASE MANAGEMENT CONFERENCE.
PARTIES MAY FILE THE ATTACHED STIPULATION TO USE ALTERNATIVE DISPUTE RESOLUTION (SDSC FORM #CIV-359).



SDSC CIV-721 (Rev. 01-17)                                                                                                        Page: 1
                                                       NOTICE OF CASE ASSIGNMENT
  Case 3:20-cv-02231-WQH-KSC Document 1-2 Filed 11/16/20 PageID.68 Page 40 of 42

                            SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO


                                 ALTERNATIVE DISPUTE RESOLUTION (ADR) INFORMATION



CASE NUMBER: 37-2020-00036271-CU-OE-CTL                     CASE TITLE: BRUMBACH VS HYATT CORPORATION [IMAGED]


NOTICE: All plaintiffs/cross-complainants in a general civil case are required to serve a copy of the following
three forms on each defendant/cross-defendant, together with the complaint/cross-complaint:
               (1) this Alternative Dispute Resolution (ADR) Information form (SDSC form #CIV-730),
               (2) the Stipulation to Use Alternative Dispute Resolution (ADR) form (SDSC form #CIV-359), and
               (3) the Notice of Case Assignment form (SDSC form #CIV-721).

Most civil disputes are resolved without filing a lawsuit, and most civil lawsuits are resolved without a trial. The courts,
community organizations, and private providers offer a variety of Alternative Dispute Resolution (ADR) processes to help
people resolve disputes without a trial. The San Diego Superior Court expects that litigants will utilize some form of ADR
as a mechanism for case settlement before trial, and it may be beneficial to do this early in the case.

Below is some information about the potential advantages and disadvantages of ADR, the most common types of ADR,
and how to find a local ADR program or neutral. A form for agreeing to use ADR is attached (SDSC form #CIV-359).

Potential Advantages and Disadvantages of ADR
ADR may have a variety of advantages or disadvantages over a trial, depending on the type of ADR process used and the
particular case:

            Potential Advantages                             Potential Disadvantages
            • Saves time                                     • May take more time and money if ADR does not
            • Saves money                                      resolve the dispute
            • Gives parties more control over the dispute    • Procedures to learn about the other side's case (discovery),
              resolution process and outcome                   jury trial, appeal, and other court protections may be limited
            • Preserves or improves relationships              or unavailable


Most Common Types of ADR
You can read more information about these ADR processes and watch videos that demonstrate them on the court's ADR
webpage at http://www.sdcourt.ca.gov/adr.

Mediation: A neutral person called a "mediator" helps the parties communicate in an effective and constructive manner
so they can try to settle their dispute. The mediator does not decide the outcome, but helps the parties to do so.
Mediation is usually confidential, and may be particularly useful when parties want or need to have an ongoing
relationship, such as in disputes between family members, neighbors, co-workers, or business partners, or when parties
want to discuss non-legal concerns or creative resolutions that could not be ordered at a trial.

Settlement Conference: A judge or another neutral person called a "settlement officer" helps the parties to understand
the strengths and weaknesses of their case and to discuss settlement. The judge or settlement officer does not make a
decision in the case but helps the parties to negotiate a settlement. Settlement conferences may be particularly helpful
when the parties have very different ideas about the likely outcome of a trial and would like an experienced neutral to help
guide them toward a resolution.

Arbitration: A neutral person called an "arbitrator" considers arguments and evidence presented by each side and then
decides the outcome of the dispute. Arbitration is less formal than a trial, and the rules of evidence are usually relaxed. If
the parties agree to binding arbitration, they waive their right to a trial and agree to accept the arbitrator's decision as final.
With nonbinding arbitration, any party may reject the arbitrator's decision and request a trial. Arbitration may be
appropriate when the parties want another person to decide the outcome of their dispute but would like to avoid the
formality, time, and expense of a trial.


SDSC CIV-730 (Rev 12-10)     ALTERNATIVE DISPUTE RESOLUTION (ADR) INFORMATION                                                Page: 1
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Other ADR Processes: There are several other types of ADR which are not offered through the court but which may be
obtained privately, including neutral evaluation, conciliation, fact finding, mini-trials, and summary jury trials. Sometimes
parties will try a combination of ADR processes. The important thing is to try to find the type or types of ADR that are
most likely to resolve your dispute. Be sure to learn about the rules of any ADR program and the qualifications of any
neutral you are considering, and about their fees.

Local ADR Programs for Civil Cases

Mediation: The San Diego Superior Court maintains a Civil Mediation Panel of approved mediators who have met
certain minimum qualifications and have agreed to charge $150 per hour for each of the first two (2) hours of mediation
and their regular hourly rate thereafter in court-referred mediations.

On-line mediator search and selection: Go to the court's ADR webpage at www.sdcourt.ca.gov/adr and click on the
"Mediator Search" to review individual mediator profiles containing detailed information about each mediator including
their dispute resolution training, relevant experience, ADR specialty, education and employment history, mediation style,
and fees and to submit an on-line Mediator Selection Form (SDSC form #CIV-005). The Civil Mediation Panel List, the
Available Mediator List, individual Mediator Profiles, and Mediator Selection Form (CIV-005) can also be printed from the
court's ADR webpage and are available at the Mediation Program Office or Civil Business Office at each court location.

Settlement Conference: The judge may order your case to a mandatory settlement conference, or voluntary settlement
conferences may be requested from the court if the parties certify that: ( 1) settlement negotiations between the parties
have been pursued, demands and offers have been tendered in good faith, and resolution has failed; (2) a judicially
supervised settlement conference presents a substantial opportunity for settlement; and (3) the case has developed to a
point where all parties are legally and factually prepared to present the issues for settlement consideration and further
discovery for settlement purposes is not required. Refer to SDSC Local Rule 2.2.1 for more information. To schedule a
settlement conference, contact the department to which your case is assigned.

Arbitration: The San Diego Superior Court maintains a panel of approved judicial arbitrators who have practiced law for
a minimum of five years and who have a certain amount of trial and/or arbitration experience. Refer to SDSC Local
Rules Division II, Chapter Ill and Code Civ. Proc. § 1141.10 et seq or contact the Arbitration Program Office at(619)
450-7300 for more information.

More information about court-connected ADR: Visit the court's ADR webpage at www.sdcourt.ca.gov/adr or contact the
court's Mediation/Arbitration Office at (619) 450-7300.

Dispute Resolution Programs Act (DRPA) funded ADR Programs: The following community dispute resolution
programs are funded under DRPA (Bus. and Prof. Code§§ 465 et seq.):
           In Central, East, and South San Diego County, contact the National Conflict Resolution Center (NCRC) at
           www.ncrconline.com or (619) 238-2400.
           In North San Diego County, contact North County Lifeline, Inc. at www.nclifeline.org or (760) 726-4900.

Private ADR: To find a private ADR program or neutral, search the Internet, your local telephone or business directory,
or legal newspaper for dispute resolution, mediation, settlement, or arbitration services.

Legal Representation and Advice

To participate effectively in ADR, it is generally important to understand your legal rights and responsibilities and the
likely outcomes if you went to trial. ADR neutrals are not allowed to represent or to give legal advice to the participants in
the ADR process. If you do not already have an attorney, the California State Bar or your local County Bar Association
can assist you in finding an attorney. Information about obtaining free and low cost legal assistance is also available on
the California courts website at www.courtinfo.ca.qovlse/fhe/pllowcost.




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  SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO                                                                          FOR COURT USE ONI. Y

 STREET ADDRESS:           330 West Broadway
 MAILING ADDRESS:          330 West Broadway
 CITY,STATE,&ZIPCODE:      San Diego, CA 92101-3827
 BRANCH NAME:              Central


  PLAINTIFF(S):        Michael D Brumbach

  DEFENDANT(S): Hyatt Corporation DBA MANCHESTER GRAND HYATT SAN DIEGO

  SHORT TITLE:         BRUMBACH VS HYATT CORPORATION [IMAGED]

                           STIPULATION TO USE ALTERNATIVE                                                     CASE NUMBER:
                               DISPUTE RESOLUTION (ADR)                                                        37-2020-00036271-CU-OE-CTL

  Judge: Joel R. Wohlfeil                                                                         Department: C-73

  The parties and their attorneys stipulate that the matter is at issue and the claims in this action shall be submitted to the following
  alternative dispute resolution (ADR) process. Selection of any of these options will not delay any case management timelines.

     •      Mediation (court-connected)
                                                                       •    Non-binding private arbitration


     •      Mediation (private)
                                                                       •    Binding private arbitration


     •      Voluntary settlement conference (private)
                                                                       •    Non-binding judicial arbitration (discovery until 15 days before trial)


     •      Neutral evaluation (private)
                                                                       •    Non-binding judicial arbitration (discovery until 30 days before trial)

      D     Other (specify e.g., private mini-trial, private judge, etc.): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




   It is also stipulated that the following shall serve as arbitrator, mediator or other neutral: (Name)




  Alternate neutral (for court Civil Mediation Program and arbitration only): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


   Date: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                              Date: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




   Name of Plaintiff                                                                       Name of Defendant




  Signature                                                                                Signature



   Name of Plaintiffs Attorney                                                             Name of Defendant's Attorney




  Signature                                                                                Signature
  If there are more parties and/or attorneys, please attach additional completed and fully executed sheets.
  II is the dulY. of the parties to notify the court of any settlement pursuant to Cal. Rules of Court, rule 3.1385. Upon notification of the settlement,
  the court will place this matter on a 45-day dismissal calendar.
  No new parties may be added without leave of court.
  IT IS SO ORDERED.

  Dated: 10/13/2020                                                                                        JUDGE OF THE SUPERIOR COURT

SDSC CIV-359 (Rev 12-10)                                                                                                                                    Page: 1
                                     STIPULATION TO USE OF ALTERNATIVE DISPUTE RESOLUTION
